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                                                               U.S. Department of Justice

                                                               United States Attorney
                                                               Southern District of New York


                                                               The Jacob K. Javits Federal Building
                                                               26 Federal Plaza, 37th Floor
                                                               New York, New York 10278

                                                               May 19, 2024

          ByECF
                                                        MEMO ENDORSED
          The Honorable Sidney H. Stein
          United States District Judge
          Southern District of New York
          Daniel Patrick Moynihan United States Courthouse
          500 Pearl Street
          New York, New York 10007

                   Re:    United States v. Robert Menendez, et al.,
                          S4 23 Cr. 490 (SHS)

          Dear Judge Stein:

                     The Government respectfully writes in the above-captioned matter, with the consent of all
            defendants, to request an extension of the time for the Government to file a reply in support of its
            motion in limine concerning a particular confidential source (Dkt. 402) from today to ib.is, )WfM"I
      fJ1,. Wednesday, May 22, 2024. The Government does not anticipate that the pertinent witness (who
            is not a confidential source) with respect to this motion will testify this week.

Request granted.                                              Respectfully submitted,

Dated:New York, New York\                                     DAMIAN WILLIAMS
      May 20, 2024                                            United States Attorney

                                                       By:    s/ Daniel C. Richenthal
                                                              Eli J. Mark
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          cc:      (by ECF)

                   Counsel of Record
